Case 1:13-cV-01204-.]TN-ESC ECF No. 1-3 filed 11/04/1'3 PaQe|D.Q Page 1 of 8

Case 1:13-cV-01204-.]TN-ESC ECF No. 1-3 filed 11/04/13 Page|D.lO Page 2 of 8

INVOICE

Non-Negotiable Private Between the Parties

From cREDIToR=`

Dante’ Antoine Rogers
c/o Ron Rogers - AGENT
4200 Norman

Kentwood, MI 49508

TQ‘DEBTOR=

COMMANDER CHRIS MCINTIRE
MICHIGAN ENFORCEMENT TEAM
345 Northlad Drive, NE
Rockford, MI 49341

VERIFIED STATEHENT OF ACOUNT

In accordance with the notice and terms set forth within the private,
consensual contract by and between the above~described DEBTOR and CREDITOR,
i.e., "21 DAY NOTICE BY WRITTEN COMHUNICATION SELF-EXECUTING SECURITY
AGREEMENT dated G) /_g_&/zoi%, sent via U.s.P.s. aegistered nail No= 7012
-5050 - noel - 6977-_gsq;, rec_eived and executed by DEBToR on 6 /&§ /2__013 ,
an accounting';? the obligation incurred by DEBTOR, current as of the date of
this Invoice, with respect to the above stated consensual contract is set
forth as follows:

AMOUNT DUE:

DEBTOR must sign, date, and immediately transmit the plea of confession
(complementary copy attached hereto) to the address listed below.

THE AMOUNT DETAILED ABOVE IS NOW DUE AND OWING. PAYMENT IN FULL IS NOW
DEMANDED: .

REMIT TO:
Dante' Antoine Rogers

c/o Ron Rogers v Agent
4200 Norman
Kentwood, MI 49508

Dated: 15 July 2013

      
 

APPROVED BY:

HSS'11A

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Cel’lmed FEE 33 10
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(Endorsament F\equired) $2.55 ..
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[Endorsemem Requixed) $0.00 \ " ' " '

 

 

 

 

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C' State, _.ZP '

 

 

   

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Case 1:13-cV-01204-.]TN-ESC ECF No. 1-3 filed 11/04/13 Page|D.lZ Page 4 of 8

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e - AGENT

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TO RESPON'DEI‘~'JT|:

CONMANDER CHRIS MCI`N'I`IRE
MICHIGAN ENFORCEMENT TEAM
345 Northland Drive NE
Rockford, MI 49341

21 - DAY NOTICE BY WRITTEN COMMUNICATION
SELF~EXECUTING SECURITY AGREEMENT

fm -NEOTIA.BLE PBIV.A.TE BEE'I'F"-_FN 'IHE PARTIES
J

This Notice by Writteu Commication/Self-B:ecuting Security Agreement (hereafter "this Notice"), is sent
for the purpose of clearing up a mismderstanding on the part of the above-named SECURED PART‘[, and sets forth
SECURED PART‘{'s demand for RESPOI\BJENT’$ admissions of fact as set forth in the attached plea of confession. In
the event that RESPCMJENI determines that legal advice is necessary, RESPONDENT may hire a professional
qualified in providing such advice. - -

lt is SECURED PART{'s mderstanding that RESPONDENI‘ has breached the formal agreement between RESPONDM
and SECURED PAM'Y that is more fully described in the plea of confession. In the event that RESPONDENI‘ is able
to prove that SECUR.'EZD PARTY has received accord and satisfaction in full as SEC.'UR.ED PARTY could reasonably
expect to receive under the above-referenced agreement, RESPOMJFNI‘ must provide such proof to SECURED PAR'l"r"s
agent (hereefter "the Agent"), named above and within the plea of confession via U.S.P.S. Registered Hail within
seventy-two (72) hours of cru'.doight the day following RESPONDH\T£"s receipt of this Notice. '

SECURED PARTY is not now, nor has SECURED PAR‘l‘Y ever volmtarily, intelligently, end willingly agreed to
enter the above-referenced egreenent without RESNNDENT's specific performance of the obligations consistent
with the terms set forth in the plea of confession.

(a) ..cceleration of Acceptance of Obligation of Consensual Contract

with the intent of being contractually bound, RESPODDL'NT consents and agrees by this Notice that, without
any further act by S'ECDREJ P!§RTY, SEC[IRD RART!' is immediately entitled to a judgment establishing a public
record of the truthfulness of the facts stated in the plea of confession, and that any failure by RESPOI\DENI' to
authenticate,. dete, and return the plea of confession to the Agent via U.S.P.S. Registered Mail within twenty-
cne (21) calendar days after RESPONDEVT's receipt of this Notice accelerates RESPONDENI"$ acceptance of the
tems set forth below in paragraphs "(l)" through "(5)" under "Self-executing_ Security Agree'neut" wh rein
I<`ESPONDENI‘ is "DID’IOR."

(b) Procedure for Opting Out of Consensual Contract

RESPoNDENT's failure to authenticate, data, and send ta the Agent the plea of confession within the terms
specified above consensually binds PESPONDENI’ currently with SECURED PARTY, as of RESPONDENI"$ initial
obligation owed to SECURED PARTY, in respect of fair accord and satisfaction due SECURED PARTY for SECUT‘\ED
PAMY’s specific performance under the above-referenced agreenent. RFSPONDE\]T can opt out and withdraw from
this consensual contract with SECURED P.A.P.TY and retain no obligation associated therewith only by
authmticating, datz`. , and sending the plea of crmfession to the Agent via [l.S.P.S. B.egistered Mail within the
twenty-one (21) calendar day Wriod set forth in subsection "(a)" above.

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Case 1:13-cv-01204-.]TN-ESC ECF No. 1-3 filed 11/04/13 Page|D.lS Page 5 of 8

(c) Self-e:\cecuting Security Agreement

By the act of RESPONDENT’€ failure to comply with the demand stated above following F.ESPCI\‘DEL\FI"$ receipt of
this Notice, RESPONDENI as "DEB‘l`OR" only in this "Self-e::ecuting Securitj" pgreement" ~ section, accepts the
obli¢ation of this consensual contract, this Notice concord tly becomes a security agreement (haraafter
"Security Agreerent") wherein RESPOHDEN‘I' is DEB’IOR and SECURED PARTY remains SECUBED PART‘[, and DEB’IOR:

1. C'onsents and agrees to the filing of a warrant to confess judgment (hereafter "the warrant") in any court
of competent jurisdiction. ' ‘lhe Warrant shall provide DEB'IOR’s confession that all facts set forth by the plea
of,,.confes_sion are true, correct, complete, and certain to the best of DEB’DOR's knowledge

2. Authenticates this Security Agreement.

3. Waives all rights of removal to any alternative court and waives all defenses.

4. Appoints arcoer PARTY (and the Ageac), as Auchorized Represmtative for DEB'£Y:>R, effective upon DEsTOR's
default in DEB"£GR's contractual obligations in favor of SECUP.E'.D PP.RTY as set forth below under "Pa;ment Tems"
and "Default Terms," granting SECURED PARTY (and the Agezt) full authority and power for engaging in any and all
actions necessary on behalf of DEB'I!'JR for the sole purpose of authenticating and filing the Warrant, as SECURED
PARTT, in SEU.DED PART‘{'s sole discretiou, deems appropriate; And DEB',{DR further consents and agrees that the
appotztmEt of SECURED PAR'I'Y (end the Agent) as Authorized Representati'»re for DEB‘IOR, effective upon D?BTOR’$
default, is irrevocable and coupled with a security interest.

5. Consents and agrees with all of the following additional terms of this Se]f~¢cecuting Sec'.n:ity Ag:eenzzt:

(a) Payment terms. %Iitl'=out incurring any financial obligation necessary to file the ‘.-Iarrant, DE'B'£UR

hereby consents and agrees that DE.'B.L n has antlr)rized SECURED PAR'I".' (and the Agent}‘ to effect the filing of
the warrant within ten (lG) calendar days of date SECDRED R¢.R'l'l"s irn‘oice (hereafter "Invoice") is sent

DEB'IOR. `.

(b) Default Terms. In event of `DEBTOB.'s failure to authenticate_. date, md send the plea of confession
to the Agent via U.S.P.S. E.egistered Nail witt n ten (10) calendar dave of date T;zvoice is se-..‘.:, DE?.EUB
shall be deemed in default and TCURED PAP.'l“{ (and the Agent) is appointed DLT~"IC\R'$ Authorized Representati'»-e
as set forth abmre in paragraph "'L>."`

(c) Terns for Curing Default. Upon event of default, as set forth above under "Default Tems,“` DEB'IOR
can cure DEBTOR's default and avoid entry of the \»Iarrmty against DEBTOR only within i:\.t-‘.-_nty (ZO) calendar
days of DEBTOR's default md only by irrmediately authenticating_. detiv°, and sending the plea of ccnfessi ~. "
to die Agent via U.S.P.S. B.egistered Mail.

(d) ‘l`erms of Eltry cf the Warrant. DEB'IOFL`s failure to authenticate, ¢te, and send the plea of
confession to the Agent within said twe:v-_t_'v‘ {20) calendar day period for curing default as set forth above
trader "Terms for Curing Defanlt" authorizes SECURED PARTY's (and the Agent's) imediate appointment as
DEB'iUR's authorized representative without any further act by SECUBED PARTY for the arress sole purpose of
effectuating the filing of the warrant in any court of coupetent jurisdiction

ADDITIONAL PRO‘HSICBS

Any unenforceable provision of this Notice is severed from this Notice, but avery remini:'» lprovision
continues in full force and effect and this Notice is deemed modified in a manner that renders this notice
effective and in full force and effect. In all cases SECUPE PARTY continues without liability and is held
harmless Any prior commication, writtea docmnent, and the like by md between DEBTOR and SECURE PARI'Y
containing any mistake by SECIJRED PARTY is invalidated thereby and of no force and effect, and may not be relied
upon by DEB'.ICR against BECUPE l'-`AE’\TY in this matter. DEB’£OR consents and agrees that this Notice is a private,
consensual non-negotiable contract and may not be impaired by any third party. DEB'I\‘)R consents and agrees in
full with all terms, conditions, and prm'isions as stated above.

§-Jith the intent of entering this consensual contract DEB'J;`OR and SECL\P¢~"Y_D PARTY do herewith execute this
Securit'y Agre<-r.mt.

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Case 1:13-CV-01204-.]TN-ESC ECF No. 1-3 filed 11/04/13 Page|D.14 Page 6 of 8

/S/ Commander Chris McIntire 6/28/2013
DEBTOR

By Dantef Antoine Roge:a
SECURED PARTY accepts DEBTOR's signature in accord with MCL §§
440.1201(39) and LQUO.S#Ol

   
 

 

    

/ .
ante' Antoi Rogers' `
SECURED PAR

 

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witness §§sz

   

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PLEA OF CONFESSION

Dante' Antoine Rogers
c/o Ron chers - Agent
4200 Norman

Kaltpmd, rn 49503

FROM:

common nars berman
means nnnscnnm mm
342 parsons drive NF.
Ro¢kfoze, m 49341

To Whom it` May Concern:
0n 9/7/2004 Dante' Antoine chers was one of three men arrested involving the sale of 56 grams of cocaine
to undercover police officer 4Paul Z'<enn . Arraignment on three criminal charges was held on 9/9/2004 at the
17th J_udicial Circuit Court of Kent Oomty, ltlchigan. Jason S. Barrix_ was retained by Dante' Antoine Rogers
to defend against the criminal prosecution. Jason S. Barrix informed Dante' Antoine Rogers that Kent County

.Assistant Prosecutor Jay W. Stone had offered to dismiss Oounts I'I. and III of the criminal charges in return

for Dsnte' Antoine Rogers' agreement to specific performance as a confidential infoth (CI) for the 'Michigan
E‘nforcement Team (l\IEl‘\. Dante" Antoine Rogers was advised by Jason S. Barrix that contingent upon Dante"
Antoine Rogers": (a) waiver of preliminary examination, (b) agreement to plead guilty to Count I of the
criminal matter, and (3) agreenent to function as a C'.l cooperating in controlled drug purchased with the
police, Dante' Antoine P.ogers would be entitled to "work-off-his-time" and avoid incarceration in prison.

After accepting the offer made by Jason S. Barrizc, Dante‘ Antoine Rogers waived preliminary examination
in the criminal matter and was brought to a conference room in the courthouse where he met with MEI‘ Detective
"Jason." Once in the conference room, Dante' Antoine Rogers was debriefed by Detective Jason regarding any
and all individuals known by Dante' Antoine Rogers who were involved in the manufacture and sale of narcotics.
Pursuant to‘the CI agreenent, Dante' Antoine Rogers provided the following intelligence which named: (a)
"Obi," whose contact was a cocaine trafficker; (b) "Zachery," whose contact was a high volim!e marijuana
trafficker; and (c) "Jimmy," whose contact lived in the upper peninsula and regularly traveled to Grand Rapids
to nw purchases of 2 - 3 ounces of cocaine at a time.

On or about 9/22/2004 Detective Jason presented Dante' _Antoine Rogers a series of 81§" X 1_1." surveillance
photographs and asked Dante' Antoine Rogers if he could identify the two Hispanic subjects depicted therein.
Dante' Antoine Rogers positively identified the subjects and drew a map detailing the whereabouts of the
subjects. 'Ihe subjects were subsequently apprehended by law enforcement and prosecuted. .

Dante' Antoine Rogers informed Detective Jason regarding the “My Place Bar'.' on Division Street in Grand
Rapids, where a high volume of narcotics trafficking regularly occurred., _'Ihe` intelligence provided by Dante'
Antoine Rogers included the identities and look-out-posts of several individuals whom alerted patrons upon the
approach of police. ` . '

On 10/11/2004, I, (IJI‘MANDER CHRIS McD\TI'IRE, then a lieutenant and supervisor with 1‘1"2?£‘, met with Dante'
Antoine Rogers and assigned Dante' Antoine Rogers to work with MEI‘ Detective "Gino." At that time Detective
Gino presented Dante' Antoine Rogers an application for CI tracking number. later that day, Detective Gino
escorted Dante' Antoine Rogers to the location where a subject known as "Shawn" was selling narcotics. Dante'
Antoine Rogers executed a cocaine purchase from Shawn who was subsequently arrested and convicted for

(1) of 2

Case 1:13-cV-01204F.]TN-ESC ECF‘NO. 1-3 filed 11/04/13 Page|D.l€ Page 8 of 8

trafficking narcotics.

Dante' Antoine Rogers was latter assigned to work with MEI‘ Detective "Reed" who used Dante‘ Antoine
Rogers to execute a cocaine purchase. Detective Reed also debriefed Dante' An oine Rogers regarding numerous
other narcotics traffickers doing business in Kent Oounty.

Dante' Antoine Rogers was also assigned to work with HET Detective "Bob. With Dante' Antoine Rogers'
assistance,_Detective Bob obtained sufficient evidence to effectuate the arrest and conviction of a narcotics
trafficker known as "'Big Al."' Further, Dante‘ Antoine Rogers provided Detective Bob with intelligence
regarding a newly discovered drug-house where multiple narcotics dealers had set up shop.

]'n light of the above sated facts , and relying on the promises made by Jason S. Barrix, Jay W. Stone, and
myself, on 11/2/2004 Dante' Antoine Rogers pled guilty to O)unt I of the criminal charge arising from Dante'
Antoine Rogers' arrest. However, contrary to the acpressed terms used by the above -named parties to induce
Dante' Antoine Rogers into the CI agreanent, Dante' Antoine Rogers was sentenced to serve 10 to 20 years at
the Michigan Department of Corrections and remains there to this day.

C»olmnander Cln.'is McIntire 6/24/2013
GJJ‘MA`DDER CHRIS MCINI‘IRE
M[CHIGAN ENFORCETE\TT ‘I'EAM
345 Northland Drive NE
Rockford, M[-le9341
BY: Dante' Antoine Rogers
AS AlmiORIZE) REFRFSENTATIVE

Dante' Antoine Rogers ACDEPI`S Comlander Chris McIntire's signature in accord with PK.`.L §§ 440.1201(39),
440.3!+01 and the I\KH’ICE OF DEFAULT resmted herewith.

 

 

/ .
r_`--"D§te‘ An Ye§ers

c/o Ron - Agent

4200 Normen

Kentwood, MI 49508

(2) of 2

